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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                            MINUTES OF PROCEEDINGS

OFFICE: TRENTON                                                 August 25, 2022
MAGISTRATE JUDGE: SINGH                                         DATE OF PROCEEDINGS
ESR: Mark J. Morelli



TITLE OF CASE:                                                  CR-22-464 (PGS)

UNITED STATES OF AMERICA,
     V.
ONUR AKSOY

APPEARANCES:

Andrew Trombly, AUSA and Matthew Lomberti, AUSA, for Government
Lorraine Gauli-Rufo, Esq., for Defendant
Michelle Roman and Elizabeth Auson, Pretrial Services

NATURE OF PROCEEDING:              Initial Appearance on Complaint via Video Conference

Initial appearance held.
All parties consent to Initial Appearance by video conference.
Initial appearance held.
Defendant advised of his rights, charges and penalties.
Defendant waives formal reading of the Indictment.
All parties consent to pretrial release once bond is satisfied.
Ordered bail set at $5,000,000 secured by available equity in property.
Order Setting Conditions of Release to be entered.
Brady Order to be entered.
Orders to be entered.
Ordered defendant remanded to the custody of the US Marshals until bond conditions are
satisfied.


TIME COMMENCED:      12:05 p.m.
TIME ADJOURNED:      12:35 p.m.                              s/ Mark Morelli
TOTAL TIME: 30 MINUTES                                       Deputy Clerk
